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          Attorneys for Plaintiff
   11     Core Optical Technologies, LLC
   12                            UNITED STATES DISTRICT COURT
   13                          CENTRAL DISTRICT OF CALIFORNIA
   14                                      SOUTHERN DIVISION
   15      CORE OPTICAL TECHNOLOGIES,                   CASE NO:
           LLC,
   16                                                   COMPLAINT FOR PATENT
                              Plaintiff,                INFRINGEMENT
   17
           v.                                           JURY TRIAL DEMANDED
   18
           ACACIA COMMUNICATIONS, INC.
   19
                              Defendant.
   20

   21

   22
                Plaintiff Core Optical Technologies, LLC (“Plaintiff” or “Core”), by and
   23
          through its undersigned counsel, hereby files this Complaint for Patent Infringement
   24
          against Defendant Acacia Communications, Inc. (“Defendant” or “Acacia”).
   25
                For its complaint, Core alleges as follows:
   26

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                                                   1
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    1                                           THE PARTIES
    2           1.     Core is a limited liability company organized and existing under the laws
    3     of the State of California. Core has a principal place of business located at 18792 Via
    4     Palatino, Irvine, California 92603.
    5           2.     Acacia is a corporation organized and existing under the laws of
    6     Delaware. Acacia maintains its principal place of business at Three Mill and Main
    7     Place, Maynard, Massachusetts 01754.
    8                                 JURISDICTION AND VENUE
    9           3.     This is an action for infringement of method claims, and only method
   10     claims, of U.S. Patent No. 6,782,211, entitled “Cross Polarization Interface [sic]
   11     Canceler,” which was duly issued by the United States Patent and Trademark Office
   12     on August 24, 2004 (“the ’211 patent”). The asserted claims in this case are only
   13     method claims 30, 32, 33, 35 and 37 of the ’211 patent (“the Asserted Claims”).
   14           4.     This Court has subject matter jurisdiction over this case under 28 U.S.C.
   15     §§ 1331 and 1338(a), because the claims arise under the patent laws of the United
   16     States, 35 U.S.C. §§ 1, et seq.
   17           5.     This Court has general personal jurisdiction over Acacia because Acacia
   18     maintains a regular and established place of business in California at 2700 Zanker Rd,
   19     Suite 201, San Jose, CA 95134.
   20           6.     This Court also has general personal jurisdiction over Acacia because, on
   21     information and belief, Acacia conducts continuous and systematic business within
   22     California, including within this judicial district.
   23           7.     In addition, this Court has specific personal jurisdiction over Acacia
   24     because, on information and belief, Acacia has committed acts of infringement in
   25     California, and within this judicial district.
   26           8.     This Court has specific personal jurisdiction over Acacia because, on
   27     information and belief, Acacia has committed acts that infringe the Asserted Claims
   28     in California, and in this judicial district. More specifically, on information and belief,
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    1     Acacia has performed all of the steps of the Asserted Claims in California, and in this
    2     judicial district, either personally, through intermediaries, or in conjunction with one
    3     or more joint venturers or customers. Furthermore, on information and belief, Acacia
    4     has induced and/or contributed to customers’ infringement of the Asserted Claims in
    5     California, and in this district, by selling Accused Instrumentalities to customers in
    6     this district, along with documentation on how to use the Accused Instrumentalities in
    7     an infringing manner, and by providing active assistance to customers in California in
    8     using the Accused Instrumentalities in an infringing manner.
    9           9.     Venue is proper in this district against Acacia under 28 U.S.C. § 1400(b).
   10     As alleged above and below, and based on information and belief, Acacia has
   11     committed acts of infringement in this district. Moreover, Acacia—either directly, or
   12     through its 100% corporate parent Cisco Systems, Inc. (“Cisco”)—has multiple
   13     regular and established places of business in this district. Those include the
   14     Acacia/Cisco facilities located at: (i) 11111 Santa Monica Blvd., Suite 400, Los
   15     Angeles, California 90025; (ii) 121 Theory Drive, Suite 100, Irvine, California 92617;
   16     and (iii) 130 Theory Drive, Suite 100, Irvine, California 92617.
   17           10.    In addition, venue is proper because Core resides in this judicial district,
   18     and Core has and continues to suffer harm in this judicial district. Moreover, a
   19     substantial part of the events giving rise to this action occurred in this judicial district,
   20     including the inventive activities giving rise to the ’211 patent.
   21                                   THE ASSERTED PATENT
   22           11.    Mark Core, the sole named inventor of the ’211 patent, earned his Ph.D.
   23     in electrical and computer engineering from the University of California, Irvine, and
   24     is the Manager of Core Optical Technologies, LLC. The pioneering technology set
   25     forth in the ’211 patent greatly increases data transmission rates in fiber optic
   26     networks, by enabling two optical signals transmitted in the same frequency band, but
   27     at generally orthogonal polarizations, to be recovered at a receiver. The patented
   28     technology that enables the recovery of these signals includes coherent optical
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    1     receivers and related methods that mitigate cross-polarization interference associated
    2     with the transmission of the signals through the fiber optic network. The coherent
    3     receivers and their patented methods mitigate the effects of polarization dependent
    4     loss and dispersion effects that limit the performance of optical networks, greatly
    5     increasing the transmission distance and eliminating or reducing the need for a variety
    6     of conventional network equipment such as amplifiers, regenerators, and
    7     compensators. The patented technology set forth in the ’211 patent has been adopted
    8     by Defendants in, at least, their packet-optical transport solutions described below.
    9           12.    On November 5, 1998, Mark Core filed with the United States Patent
   10     and Trademark Office ("USPTO") Provisional Patent Application No. 60/107,123
   11     ("the ‘123 application") directed to his pioneering inventions. On November 4, 1999,
   12     Mark Core filed with the USPTO a non-provisional patent application, U.S. Patent
   13     Application No. 09/434,213 ("the ‘213 application"), claiming priority to the '123
   14     application. On August 24, 2004, the USPTO issued the '211 patent from the '213
   15     application. The entire right, title, and interest in and to the '211 patent, including all
   16     rights to past damages, has been assigned to Core in an assignment recorded with the
   17     USPTO. The '211 patent is attached as Exhibit 1 to this Complaint.
   18           13.    The Asserted Claims of the ’211 patent are each method claims. One of
   19     these is claim 33, an independent method claim. Claim 33 is reproduced below, with
   20     parenthetical annotations to identify the different elements of the claim:
   21
                       33. A method comprising:
   22

   23
                              (33a) receiving an optical signal over a single fiber optic
                              transmission medium,
   24

   25
                                     (33a1) the optical signal being at least two
                                     polarized field components independently
   26                                modulated with independent information bearing
   27                                waveforms; and

   28                         (33b) mitigating cross polarization interference
                                                     4
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    1
                             associated with the at least two modulated polarized field
                             components to reconstruct the information bearing
    2                        waveforms
    3
                                    (33b1) using a plurality of matrix coefficients
    4                               being complex values to apply both amplitude
    5                               scaling and phase shifting to the at least two
                                    modulated polarized field components.
    6

    7             ACACIA’S CROSS POLARIZATION CANCELLING DEVICES
    8           14.    Acacia and/or its divisions, subsidiaries, and/or agents are engaged in the
    9     business of making, using, distributing, importing, offering for sale and/or selling
   10     devices that can be configured to mitigate and/or cancel cross polarization
   11     interference in received fiber optic signals, when used as part of infringing optical
   12     receiver systems. As so configured, these optical receiver systems, when
   13     incorporating the Acacia devices, perform all the steps of the methods claimed in the
   14     Asserted Claims, during normal use. These Acacia devices include, but are not
   15     limited to: (i) all members of the “CFP-DCO Product Family” described at
   16     https://acacia-inc.com/product/cfp-dco/, including all prior and current versions,
   17     revisions, and variations of such products, and all components of such products,
   18     including all hardware and software (“CFP-DCO”); (ii) all members of the “CFP2-
   19     ACO Product Family” described at https://acacia-inc.com/product/cfp2-aco/,
   20     including all prior and current versions, revisions, and variations of such products,
   21     and all components of such products, including all hardware and software (“CFP2-
   22     ACO”); (iii) all members of the “CFP2-DCO Product Family” described at
   23     https://acacia-inc.com/product/cfp2-dco/, including all prior and current versions,
   24     revisions, and variations of such products, and all components of such products,
   25     including all hardware and software (“CFP2-DCO”); (iv) all members of the “OSFP
   26     Product Family” described at https://acacia-inc.com/product/osfp-product-family/,
   27     including all prior and current versions, revisions, and variations of such products,
   28     and all components of such products, including all hardware and software (“OSFP”);
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    1     (v) all members of the “QSFP-DD Product Family” described at https://acacia-
    2     inc.com/product/qsfp-dd-product-family/, including all prior and current versions,
    3     revisions, and variations of such products, and all components of such products,
    4     including all hardware and software (“QSFP-DD”); (vi) all “DSP ASIC Products”
    5     described at https://acacia-inc.com/product/dsp-asic-products/ , including all prior and
    6     current versions, revisions, and variations of such products, and all components of
    7     such products, including all hardware and software (“DSP ASICs”); (vii) all “Silicon
    8     Photonic Integrated Circuits” described at https://acacia-inc.com/product/silicon-
    9     photonic-integrated-circuits-pic/ , including all prior and current versions, revisions,
   10     and variations of such products, and all components of such products, including all
   11     hardware and software (“Silicon PICs”); (viii) all products in the “AC100-CFP”
   12     product family described at http://ir.acacia-inc.com/news-releases/news-release-
   13     details/acacia-communications-industry-first-coherent-ac100-cfp-now, and all
   14     products bearing a designation that includes the characters “AC100” or “AC-100,”
   15     including all prior and current versions, revisions, and variations of such products,
   16     and all components of such products, including all hardware and software (“AC100”);
   17     (ix) all members of the AC200 product family, and all products bearing a designation
   18     that includes the characters “AC200” or “AC-200,” including all prior and current
   19     versions, revisions, and variations of such products, and all components of such
   20     products, including all hardware and software (“AC200”); (x) all members of the
   21     “AC400 FLEX Product Family” described at https://acacia-inc.com/product/ac400-
   22     flex/ , and all products bearing a designation that includes the characters “AC400” or
   23     “AC-400,” including all prior and current versions, revisions, and variations of such
   24     products, and all components of such products, including all hardware and software
   25     (“AC400”); and (xi) all members of the “AC1200 Product Family” described at
   26     https://acacia-inc.com/product/ac1200/ , and all products bearing a designation that
   27     includes the characters “AC1200” or “AC-1200,” including all prior and current
   28     versions, revisions, and variations of such products, and all components of such
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    1     products, including all hardware and software (“AC1200”) (collectively, the
    2     “Accused Instrumentalities”).
    3           15.    Optical receiver systems incorporating the Accused Instrumentalities are,
    4     or can be, configured to perform all of the steps recited in the Asserted Claims during
    5     normal use. On information and belief, Acacia has actually used the Accused
    6     Instrumentalities to perform each step of the methods recited in the Asserted Claims
    7     of the ’211 Patent, within the United States, either itself, through intermediaries, or in
    8     conjunction with one or more joint venturers, customers, or suppliers.
    9           16.    Acacia’s product literature, website, and other public information shows
   10     that optical receiver systems incorporating the Accused Instrumentalities are
   11     configured to perform all of the steps of claim 33, during normal use.
   12           17.    Element 33(a) recites “receiving an optical signal over a single fiber
   13     optic transmission medium.” Optical receiver systems incorporating the Accused
   14     Instrumentalities are configured to do this during normal operation, as shown below:
   15                  a.     CFP-DCO is an “industry-standard, pluggable CFP form factor”
   16           module which includes a “silicon photonic integrated circuit.” See Exhibit 2
   17           (Acacia product portfolio) at 3. CFP pluggable modules are governed by the
   18           CFP MSA Hardware Specification, attached as Exhibit 3. That specification
   19           shows that a CFP module includes “RX [receiver] optics” which receive optical
   20           signals over a fiber optic transmission medium. Ex. 3 at 8.
   21                  b.     CFP2-ACO follows the “industry standard pluggable CFP2 form
   22           factor [that] was designed in accordance with the Implementation Agreement
   23           defined by the Optical Internetworking Forum.” Ex. 2 at 3. The Implementation
   24           Agreement for CFP2-ACO is attached as Exhibit 4. The Implementation
   25           Agreement shows that CFP2-ACO modules have an “Rx Input” that receives
   26           optical signals over a fiber optic transmission medium. Ex. 4 at 16.
   27                  c.     CFP2-DCO modules are governed by the OIF Implementation
   28           Agreement for such modules, which is attached as Exhibit 5. CFP2-DCO
                                                    7
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    1           modules include “RX Optics” that receive optical signals over a fiber optic
    2           transmission medium. See Ex. 5 at 9.
    3                 d.     OSFP is an “Octal Small Form-factor Pluggable” module that
    4           includes a “silicon photonic integrated circuit” which receives optical signals
    5           over a fiber optic transmission medium. Ex. 6 (OSFP website printout) at 1-2.
    6                 e.     QSFP-DD is a “Quad Small Form-factor Pluggable Double
    7           Density” module which includes a “silicon photonic integrated circuit (PIC)”
    8           which receives optical signals over a fiber optic transmission medium. See Ex.
    9           7 (QSFP-DD website printout) at 1-2.
   10                 f.     The DSP ASICs are “at the heart of the aforementioned coherent
   11           module products,” which—as shown above—receive optical signals over a
   12           fiber optic transmission medium. Ex. 2 at 4. Thus, the DSP ASICs are part of
   13           products that receive optical signals over a fiber optic transmission medium.
   14                 g.     The Silicon PICs are described in the Acacia document “Single-
   15           Chip Silicon Photonics 100-GbsCoherent Transceiver” (Exhibit 8). According
   16           to that document, the Silicon PICs “contains all the optics for a 100-Gb/s
   17           coherent transceiver, except the laser.” Ex. 8 at 1. The Silicon PICs receive
   18           optical signals over a fiber optic transmission medium at the “R” port. Id. at 3.
   19                 h.     AC100 is the same product family as CFP-DCO. Ex. 2 at 3.
   20           AC200 is the same product family as CFP2-ACO and/or CFP2-DCO. Id. Thus,
   21           AC100 and AC200 satisfy this element during normal use, for the same reasons
   22           discussed above as to CFP-DCO, CFP2-ACO, an CFP2-DCO.
   23                 i.     AC400 is an “Embedded Module[]” that receives optical signals
   24           over fiber optic transmission media at rates of “100G to 400G.” Ex. 2 at 2.
   25                 j.     AC1200 is an “Embedded Module” that receives optical signals
   26           over fiber optic transmission media at rates of “up to 600 Gbps.” Id.
   27           18.   Element 33(a1) recites “the optical signal being at least two polarized
   28     field components independently modulated with independent information bearing
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    1     waveforms.” Communication in which “at least two polarized field components [are]
    2     independently modulated with independent information bearing waveforms” is called
    3     Polarization-Division-Multiplexing (“PDM”) or Dual-Polarization (“DP”) optical
    4     communication. Optical receiver systems incorporating the Accused Instrumentalities
    5     are configured to perform PDM/DP optical communication during normal operation,
    6     as shown below:
    7                 a.    CFP-DCO (a.k.a. AC100) was the first “commercial coherent
    8           100Gbps system” employing the OIF’s implementation agreement for
    9           “integrated dual-polarization coherent receivers.” Ex. 9 (Merenguel Thesis) at
   10           50, 141. On information and belief, a CFP-DCO (i.e., AC100) module is the
   11           subject of the article “A Robust Real-Time 100G Transceiver with Soft-
   12           Decision Forward Error Correction” (Exhibit 10), co-authored by several
   13           Acacia employees. That article states that the AC100 module is a “120 Gb/s
   14           coherent polarization-multiplexed quadrature-phase-shift-keyed transceiver.”
   15           Ex. 10 at 1. Thus, the CFP-DCO (AC100) module performs dual-polarization
   16           optical communication during normal operation.
   17                 b.    CFP2-ACO follows the OIF Implementation Agreement for
   18           CFP2-ACO, Exhibit 4. That Implementation Agreement states that CFP2-ACO
   19           modules perform “dual polarization coherent optical signaling.” Ex. 4 at 12.
   20           Thus, Acacia’s CFP2-ACO performs DP communication in ordinary use.
   21                 c.    CFP2-DCO is described in the article “Real-time transmission of
   22           16 TB/s over 1020km using 200Gb/s” (Exhibit 11), co-authored by multiple
   23           Acacia employees. That article states that CFP2-DCO performs “200Gb/s
   24           polarization multiplexed (PM)” communication using “8QAM” or “16QAM”
   25           modulation formats. Ex. 11 at 2. Thus, CFP2-DCO is configured to perform
   26           dual-polarization optical communication during normal use.
   27                 d.    “AC200” refers to both CFP2-ACO and CFP2-DCO. See Ex. 2 at
   28           3. As discussed above, CFP2-ACO and CFP2-DCO perform dual-polarization
                                                  9
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    1       optical communication during normal use; thus, AC200 does as well.
    2             e.     Acacia has sold two different types of OSFP products: “400ZR”
    3       products, and “OpenZR+” products. Ex. 6 at 4. The 400ZR products are
    4       governed by the OIF Implementation Agreement for 400ZR (Exhibit 12). That
    5       Implementation Agreement states that 400ZR products use “DP-16QAM
    6       modulation,” i.e., dual-polarization. Ex. 12 at 14. Meanwhile, OpenZR+
    7       products are governed by the OpenZR+ MSA Technical Specification (Exhibit
    8       13). That Technical Specification states that OpenZR+ products use “dual
    9       polarization coherent” communication. Ex. 13 at 6-7. Thus, Acacia’s OSFP
   10       products perform dual-polarization communication during normal operation.
   11             f.     Acacia has sold two types of QSFP-DD products: “400ZR” and
   12       “OpenZR+” products. Ex. 7 at 4. As discussed above, both types of products
   13       perform dual-polarization communication during normal use.
   14             g.     The DSP ASICs are “at the heart of the aforementioned coherent
   15       module products,” which—as shown above—receive dual-polarization optical
   16       signals during normal use in optical systems. Ex. 2 at 4. Thus, the DSP ASICs
   17       are part of products that receive DP optical signals during normal use.
   18             h.     The Silicon PICs actually receive dual-polarization optical signals
   19       at the “R” (receive) port. Ex. 8 at 2-3. Thus, the Silicon PICs are configured to
   20       receive dual-polarization optical signals during normal use.
   21             i.     According to the article “Beyond the mega-data center:
   22       networking multi-data center regions” (Exhibit 14), both the “Acacia AC200”
   23       and “AC400” perform “dual polarization (DP) 200 Gbit/s 16 quadrature
   24       amplitude modulation (QAM).” Ex. 14 at 17. The article “Acacia unveils 400
   25       Gigabit coherent transceiver” (Exhibit 15) confirms that the “AC-400” module
   26       performs “polarization multiplexing.” Ex. 15 at 2. Thus, the AC400 performs
   27       dual-polarization optical communication during normal use.
   28             j.     According to the presentation “Everything You Always Wanted to
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    1           Know About Optical Networking – But Were Afraid to Ask” (Exhibit 16), the
    2           AC1200 uses “Polarization Multiplexing.” Ex. at 91-93. Thus, the AC1200
    3           performs dual-polarization optical communication during normal use.
    4           19.   Element 33(b) recites “mitigating cross polarization interference
    5     associated with the at least two modulated polarized field components to reconstruct
    6     the information bearing waveforms.” Optical receiver systems incorporating the
    7     Accused Instrumentalities are configured to do this during normal operation, as
    8     shown below:
    9                 a.     According to Acacia’s May 17, 2019 Form 8-K Report to the SEC
   10           (Exhibit 17), the AC100 originally used the “Everest” DSP ASIC. Ex. 17 at 27;
   11           see also Exhibit 18 (Acacia’s December 21, 2015 Form S-1) at 91 (confirming
   12           that “AC100-G” was “based on our Everest DSP ASIC”). According to the
   13           September 16, 2012 article “Acacia Communications Announces the Industry's
   14           First 100G Coherent Module That Is Commercially Deployed Globally”
   15           (Exhibit 19), that “purpose-built ASIC” (Everest) performed “[f]ast and
   16           extensive Polarization Mode Dispersion (PMD) compensation . . . enabling
   17           transport of 100G over fiber links that cannot even support 10G today.” Ex. 19
   18           at 2. On information and belief, the only way that the AC100 ASIC (Everest)
   19           could perform “[f]ast and extensive Polarization Mode Dispersion (PMD)
   20           compensation . . . enabling transport of 100G over fiber links that cannot even
   21           support 10G today” is if it mitigated cross-polarization interference (and other
   22           polarization-related transmission impairments, including PMD) by means of
   23           the “XPIC” approach of the ‘211 patent. Additionally, the public version of the
   24           March 8, 2011 Strategic Partnering Agreement between Acacia and ADVA
   25           (Exhibit 20) (downloaded from SEC website) states that the “AC100” module
   26           (Ex. 20 at 1) had to achieve certain levels of “tolerance to change in SOP [state
   27           of polarization],” “PMD tolerance,” “[chromatic] dispersion tolerance,” and
   28           “PDL [polarization dependent loss] tolerance.” Id. at 38-39. On information
                                                   11
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    1       and belief, the only way that the AC100 Everest chip could achieve high levels
    2       of PMD, PDL, and CD tolerance in a DSP is if it followed the “XPIC”
    3       approach of the ‘211 patent. Accordingly, the Everest ASIC in the AC100
    4       literally performs this claim element during normal operation.
    5             b.     Moreover, the Everest ASIC (40 nm) is described in “A Robust
    6       Real-Time 100G Transceiver With Soft-Decision Forward Error Correction”
    7       (Ex. 10). That article shows that the receive path in the AC100 includes the
    8       Everest ASIC, which includes a block that performs “Dispersion and PMD
    9       Equalization.” Ex. 10 at 2. That block includes the “Pol DMUX/PMD” block:
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   19       Id. As the article explains, this block performs “PMD compensation of up to 30
   20       ps mean PMD via a time-domain butterfly structure, which uses fractional tap
   21       spacing, where the tap updates are based on the constant modulus algorithm.”
   22       Id. As seen above, the 2x2 butterfly structure of the “Pol DMUX / PMD” block
   23       in the Everest ASIC has the exact same structure as the “XPIC” shown in
   24       Figures 4A and 4B of the ‘211 patent. Moreover, it performs the same
   25       function—i.e., correcting polarization-dependent transmission impairments,
   26       including PMD, to reconstruct the originally-transmitted signals. Id. This
   27       further confirms that the Everest ASIC in the AC100 Module is configured to
   28       perform this claim element during normal operation.
                                               12
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    1             c.    According to Acacia’s May 17, 2019 Form 8-K (Exhibit 17), CFP-
    2       DCO uses the “Sky” DSP ASIC. Ex. 17 at 27. On information and belief, the
    3       Sky ASIC is an evolution of the original Everest ASIC. See Ex. 18 at 90-91
    4       (describing a continuous evolution of ASICs and product families); Ex. 17 at
    5       26-27 (showing the evolution of the ASICs and product families in a straight
    6       line, connected by arrows). This is confirmed by the fact that Acacia labeled
    7       both modules “AC100” modules. Id. On information and belief, as a direct
    8       evolution of the original Everest ASIC, the Sky ASIC in the CFP-DCO uses the
    9       same “Pol DMUX / PMD” block as the Everest DSP on which it was based, or
   10       a similar or equivalent block, to mitigate polarization-dependent transmission
   11       impairments and reconstruct the originally-transmitted signals. Thus, for the
   12       same reasons as the Everest-based AC100, the Sky-based CFP-DCO is
   13       configured to perform this claim element during normal operation.
   14             d.    According to Acacia’s May 17, 2019 Form 8-K, the AC400
   15       module uses the “Denali” DSP ASIC. Ex. 17 at 27. Denali is an evolution of
   16       the Sky chip. See Exhibit 21 (Article, “Court awards Viasat $49.3 million in
   17       damages in SDFEC IP suit against Acacia Communications”) at 2-6; see also
   18       Exhibit 22 (Article, “Acacia eyes pluggables as it demos its AC1200 module”)
   19       at 2. On information and belief, as a direct evolution of the Sky ASIC—itself a
   20       direct evolution of the Everest ASIC—the Denali DSP in the AC400 uses the
   21       same “Pol DMUX / PMD” block as the Everest DSP on which it was based, or
   22       a similar or equivalent block, to mitigate polarization-dependent transmission
   23       impairments and reconstruct the originally-transmitted signals. Thus, for the
   24       same reasons as the Everest-based AC100, the Denali-based AC400 is
   25       configured to perform this claim element during normal operation.
   26             e.    The CFP2-DCO uses the “Meru” ASIC. See Ex. 17 at 26-27. The
   27       Meru ASIC was an evolution of the Sky chip. See Ex. 21 at 2-6; Ex. 22 at 2. On
   28       information and belief, as a direct evolution of the Sky ASIC—itself a direct
                                               13
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    1           evolution of the Everest ASIC—the Meru DSP in the CFP2-DCO uses the
    2           same “Pol DMUX / PMD” block as the Everest DSP on which it was based, or
    3           a similar or equivalent block, to mitigate polarization-dependent transmission
    4           impairments and reconstruct the originally-transmitted signals. Thus, for the
    5           same reasons as the Everest-based AC100, the Meru-based CFP2-DCO is
    6           configured to perform this claim element during normal operation.
    7                 f.     The AC1200 uses the “Pico” ASIC. See Ex. 17 at 26-27. On
    8           information and belief, the Pico ASIC was an evolution of the Sky chip. See
    9           Ex. 22 at 2; see also Ex. 17 at 26-27 (showing a straight line of product
   10           evolution from the Everest-based AC100 to the Pico-based AC1200, all
   11           connected by arrows). On information and belief, the Pico DSP in the AC1200
   12           uses the same “Pol DMUX / PMD” block as the Everest DSP on which it was
   13           based, or a similar or equivalent block, to mitigate polarization-dependent
   14           transmission impairments and reconstruct the originally-transmitted signals.
   15           Thus, for the same reasons as the Everest-based AC100, the Pico-based
   16           AC1200 is configured to perform this claim element during normal operation.
   17                 g.     Acacia’s literature indicates that Acacia sometimes sells the
   18           Everest, Sky, Denali, Meru, or Pico ASICs as “standalone DSPs.” Ex. 2 at 4.
   19           To the extent that any Acacia customers purchased these ASICs as “standalone
   20           DSPs,” and incorporated them into products that performed dual-polarization
   21           communication, then those standalone DSPs would have performed this
   22           element during normal operation, for the reasons stated above.
   23           20.   Element 33(b1) recites “using a plurality of matrix coefficients being
   24     complex values to apply both amplitude scaling and phase shifting to the at least two
   25     modulated polarized field components.” Optical receiver systems incorporating the
   26     Accused Instrumentalities are configured to do this during normal operation, as
   27     shown below:
   28                 a.     As shown in Paragraph 19a supra, the Everest ASIC contains a
                                                   14
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    1       “Pol DMUX / PMD” block which performs “PMD compensation of up to 30 ps
    2       mean PMD via a time-domain butterfly structure, which uses fractional tap
    3       spacing, where the tap updates are based on the constant modulus algorithm.”
    4       Ex. 10 at 2. The structure of that block is as follows (id.):
    5

    6

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   13       Such a 2x2 butterfly block performs the following matrix computation:
   14                              𝑋𝑋           𝑎𝑎𝑥𝑥ℎ 𝑎𝑎𝑥𝑥𝑥𝑥 𝑋𝑋𝑖𝑖𝑖𝑖
                                  � 𝑜𝑜𝑜𝑜𝑜𝑜 � = �𝑎𝑎           �� �
                                    𝑌𝑌𝑜𝑜𝑜𝑜𝑜𝑜      𝑦𝑦ℎ 𝑎𝑎𝑦𝑦𝑦𝑦   𝑌𝑌𝑖𝑖𝑖𝑖
   15

   16             , where Xin are the incoming x-polarization signals, Yin are the incoming
   17       y-polarization signals, Xout are the computed (corrected) x-polarization signals,
   18       with the effects of PMD and other transmission impairments (including PDL)
   19       removed, Yout are the computed (corrected) y-polarization signals, with the
   20       effects of PMD and other transmission impairments (including PDL) removed,
   21       and the aij are the “tap” coefficients whose values are updated based on the
   22       “constant modulus algorithm.” Id. at 2. In order to correct for PMD (as the
   23       article states that this block does), the weights aij must be complex, so that the
   24       filter can correct for both amplitude and phase distortions applied by the
   25       transmission medium. See Ex. 1, 6:10-53. When the complex weights aij are
   26       multiplied by (Xout, Yout), this necessarily performs both “amplitude scaling”
   27       and “phase shifting,” because that is what complex multiplication does.
   28       Therefore, Exhibit 10 shows that the “Pol DMUX / PMD” block in the Everest
                                                15
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    1           ASIC “us[es] a plurality of matrix coefficients being complex values to apply
    2           both amplitude scaling and phase shifting to the at least two modulated
    3           polarized field components,” as recited in this claim, during normal operation.
    4           Thus, the Everest-based AC100 performs this element during normal operation.
    5                  b.    As discussed above in Paragraphs 19c-f, on information and belief
    6           (and based on the documents cited above), the Sky, Denali, Meru, and Pico
    7           ASICs used respectively in the CFP-DCO, AC400, CFP2-DCO, and AC1200
    8           modules are based on, and perform the same (or substantially the same) 2x2
    9           complex butterfly calculation as, the Everest ASIC. Accordingly, for the same
   10           reasons stated above as to the Everest-based AC100, the Sky-based CFP-DCO,
   11           Denali-based AC400, Meru-based CFP2-DCFO, and Pico-based AC1200
   12           modules are all configured to perform this element during normal operation.
   13                  c.    Finally, if the Everest, Sky, Denali, Meru, and Pico ASICs were
   14           ever sold as “Standalone DSPs,” those Standalone DSPs practiced this element
   15           when incorporated into Acacia’s customers’ optical receiving equipment during
   16           normal operation, for the reasons stated in Paragraphs 20a-b supra.
   17           21.    Accordingly, the publicly-available evidence shows that optical receiver
   18     systems incorporating the Accused Instrumentalities, when configured properly,
   19     perform all of the elements of claim 33, during normal use.
   20                                 Marking – 35 U.S.C. § 287(a)
   21           22.    Core has never made, sold, used, offered to sell, or imported into the
   22     United States any article that practices any claim of the ’211 Patent. Core has never
   23     sold, commercially performed, or offered to commercially perform any service that
   24     practices any claim of the ‘211 Patent.
   25           23.    Prior to October 21, 2014, Core had never authorized, licensed, or in any
   26     way permitted any third party to practice any claim of the ‘211 Patent.
   27           24.    Moreover, Core alleges that Acacia has infringed only method claims of
   28     the ’211 patent. Core does not allege that Acacia infringes any apparatus claims of the
                                                   16
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    1     ’211 patent. The marking requirement of 35 U.S.C. § 287(a) does not apply when a
    2     patentee only asserts infringement of method claims. See Crown Packaging Tech.,
    3     Inc. v. Rexam Beverage Can Co., 559 F.3d 1308, 1316 (Fed. Cir. 2009); Hanson v.
    4     Alpine Valley Ski Area, Inc., 718 F.2d 1075, 1082-83 (Fed. Cir. 1983).
    5           25.     Because Core has never directly marketed any product or service that
    6     practices any of the claimed inventions of the ’211 Patent, and no third party was
    7     authorized to practice any claimed inventions of the ’211 patent prior to October 21,
    8     2014, 35 U.S.C. § 287(a) cannot prevent or otherwise limit Core’s entitlement to
    9     damages for acts of infringement that occurred prior to October 21, 2014.
   10           26.    Because Core alleges that Acacia has infringed only method claims of
   11     the ’211 patent, 35 U.S.C. § 287(a) does not apply, even for acts of infringement that
   12     occurred after October 21, 2014. Thus, 35 U.S.C. § 287(a) does not limit Core’s
   13     entitlement to damages against Acacia, in any way, for any period of time.
   14          COUNT I – DIRECT PATENT INFRINGEMENT (35 U.S.C § 271(a))
   15           27.    Plaintiff repeats and realleges each and every allegation contained in
   16     Paragraphs 1-26 above, as if fully set forth herein.
   17           28.    Acacia has made, used, offered for sale, and/or sold, directly and/or
   18     through intermediaries, in this judicial district and/or elsewhere in the United States,
   19     one or more of the Accused Instrumentalities, and/or imported into the United States
   20     one or more of the Accused Instrumentalities.
   21           29.    Acacia’s acts complained of herein, including its use of the Accused
   22     Instrumentalities as part of optical receiver systems, directly infringed the Asserted
   23     Claims, because—as shown in Paragraphs 16-21 supra (for claim 33)—optical
   24     receiver systems incorporating the Accused Instrumentalities are configured to
   25     perform all of the steps recited in those claims during normal use.
   26           30.     Acacia has directly infringed the Asserted Claims of the ’211 Patent by
   27     performing all of the steps of those claims within the U.S., either itself, through
   28     intermediaries, or in conjunction with joint venturers and/or customers. Specifically,
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    1     on information and belief, Acacia has performed all of the steps recited in each
    2     Asserted Claim, either personally, through intermediaries, or in conjunction with joint
    3     venturers and/or customers, by operating optical receiver systems incorporating the
    4     Accused Instrumentalities within the U.S. Such operation necessarily performs all of
    5     the steps recited in those claims, as shown in Paragraphs 16-21 supra (for claim 33).
    6          COUNT II - INDUCEMENT OF INFRINGEMENT (35 U.S.C § 271(b))
    7           31.    Plaintiff repeats and realleges each and every allegation contained in
    8     Paragraphs 1-30 supra, as if fully set forth herein.
    9           32.    Acacia actively induced infringement of the Asserted Claims in violation
   10     of 35 U.S.C. § 271(b), prior to the expiration of the ‘211 patent, and less than six
   11     years prior to the filing of this Complaint (the “Relevant Time Period”).
   12           33.    Acacia actively induced infringement of the Asserted Claims by selling
   13     the Accused Instrumentalities to one or more customers in the U.S., along with
   14     documentation and instructions demonstrating how to use the devices as part of
   15     optical receiver systems to infringe the claims, and by providing service,
   16     maintenance, support, and other active assistance to its customers in using the
   17     Accused Instrumentalities in the United States. The documentation which Acacia
   18     provided includes, at least: (i) the product information for the Accused
   19     Instrumentalities set forth on Acacia’s websites, including https://acacia-inc.com/,
   20     which includes various white papers, manuals, datasheets, and other technical
   21     documentation for the Accused Instrumentalities; (ii) the specific instances of
   22     Acacia’s product documentation which are attached as Exhibits to this Complaint, or
   23     which are otherwise referenced in this Complaint; and (iii) the other product
   24     documentation which, on information and belief, Acacia provided in electronic and/or
   25     paper form to its customers for the Accused Instrumentalities.
   26           34.    Public documents confirm that Acacia provided extensive documentation
   27     to its customers, showing how to use the Accused Instrumentalities in an infringing
   28     system. For instance, a redacted version of the March 8, 2011 Strategic Partnering
                                                    18
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    1     Agreement between Acacia and ADVA (Exhibit 20) is available on the SEC website,
    2     https://www.sec.gov/Archives/edgar/data/1651235/000119312515409344/d46988dex
    3     1016.htm. That agreement governed the terms under which Acacia would supply
    4     “early access to the AC100 100G coherent optical module” to its “Strategic Partners,”
    5     including “ADVA [and] Juniper.” Ex. 20 at 1. The Agreement states that Acacia was
    6     required to provide extensive “documentation accompanying any Product” (id. at 9),
    7     including “documentation related . . . [to] any firmware or software incorporated or
    8     embedded therein” (id. at 11), “Final Product Specifications” (id. at 23),
    9     “[d]ocumentation . . . showing all register default values,” and “test report[s] for all
   10     parameters tested prior to shipment” (id. at 38). Acacia was also required to provide
   11     “design consultation and references designs” to its customers. Id. at 58. Thus, Acacia
   12     was required to (and, on information and belief, did) provide extensive documentation
   13     to its customers, including ADVA and Juniper, to assist them in using the Accused
   14     Instrumentalities in an infringing manner.
   15           35.    The Strategic Partnering Agreement further indicates that Acacia was
   16     required to provide extensive hands-on assistance to ADVA and Juniper in using the
   17     Accused Instrumentalities in an infringing manner. This hands-on assistance included:
   18     (i) that Acacia would “provide reasonable access to ADVA for use of Acacia’s
   19     development test platforms at Acacia’s facility” (id. at 4); (ii) that “Acacia will
   20     provide ADVA with reasonable access to its personnel who are performing the
   21     Development Services” (id.); (iii) that “Acacia will assist ADVA in responding to
   22     carrier RFIs and RFPs, attend meetings (related to technical aspects of the Product)
   23     with Customer’s prospective customers and represent Customer’s interests at OIF and
   24     other standard-setting bodies” (id.); (iv) that Acacia would “provide certain
   25     installation, custom development, consulting, training or other professional services”
   26     (id. at 5); (v) that “Acacia will use all commercially reasonable efforts to provide
   27     ADVA (but not its customers) with technical support services for the Products,”
   28     including free service during the warranty period, and charged service thereafter (id.
                                                    19
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    1     at 5); (vi) that “Acacia shall make a direct service support facility available for
    2     ADVA to contact during its normal working hours regarding, without limitation, root
    3     cause analyses and error correction” (id. at 9); and (vii) that Acacia would provide
    4     “special technical support and services” which “are provided to Strategic Partners
    5     well ahead of other customers” (id. at 48).
    6           36.    Indeed, the Strategic Partnering Agreement indicates that ADVA and
    7     Juniper were not mere hands-off customers of Acacia—rather, they were active
    8     partners in the design, development and use of the Accused Instrumentalities. See,
    9     e.g., Ex. 20 at 47 (“The Parties will collaborate to ensure a successful integration of
   10     the Product Versions into ADVA’s system according to the agreed time-to-market
   11     timeline shown below”), 48 (“Acacia agrees to . . . Work with ADVA to ensure
   12     optimized performance in ADVA’s applications.”) Thus, it is clear that Acacia
   13     worked directly with its “Strategic Partner” customers, including ADVA and Juniper,
   14     to assist them in developing and using the Accused Products as part of optical
   15     receiver systems in an infringing manner.
   16           37.    On information and belief, in addition to its “Strategic Partner”
   17     customers, Acacia also provided (during the Relevant Time Period) technical
   18     documentation and hands-on assistance to its regular customers, in a way that assisted
   19     the customers to use the Accused Instrumentalities in an infringing manner. Core
   20     expects that much of this technical documentation, and many of the details regarding
   21     the hands-on assistance, are non-public. Core expects that it will uncover such
   22     documentation and information through discovery in this case. Core reserves the right
   23     to amend this Complaint to identify such additional documentation and information as
   24     they are uncovered through discovery, to the maximum extent permitted by law.
   25           38.    Moreover, on information and belief, Acacia provided (during the
   26     Relevant Time Period) direct support to its customers’ customers in setting up,
   27     installing, and using the Accused Instrumentalities as part of optical receiver systems
   28     to perform infringing dual-polarization communication. On information and belief,
                                                    20
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    1     Acacia provided such support either itself, or through contractors subject to its
    2     control. Core expects that much of the documentation and information regarding such
    3     support is non-public. Core reserves the right to amend this Complaint to cite
    4     additional information and documentation regarding such activities once it is
    5     produced in discovery.
    6           39.    When Acacia performed the acts of inducement outlined in Paragraphs
    7     32-38 supra (and other acts of inducement), it was aware of the ‘211 patent, and knew
    8     (or was willfully blind) that its customers’ normal use of the Accused
    9     Instrumentalities as part of optical receiver systems would infringe the Asserted
   10     Claims of the ‘211 patent.
   11           40.    First, on information and belief, Acacia knew of the ’211 Patent’s
   12     existence and relevance due to Core’s filing of complaints for infringement of that
   13     patent in: (1) Central District of California Case No. SACV 12-1872 AG, styled Core
   14     Optical Technologies, LLC v. Ciena Corporation, et al. (filed October 29, 2012); (2)
   15     Central District of California Case No. SACV 16-0437 AG, styled Core Optical
   16     Technologies, LLC v. Fujitsu Network Communications, Inc. (filed March 7, 2016);
   17     and (3) Central District of California Case No. SACV 8:17-cv-00548AG, styled Core
   18     Optical Technologies, LLC v. Infinera Corp. (filed March 24, 2017).
   19           41.    On information and belief, as a major player in the optical networking
   20     industry, Acacia monitors patent lawsuits against other players in the industry. In
   21     addition to being a major player in the industry, Acacia was also (at all relevant times)
   22     a member the Optical Internetworking Forum, or “OIF.” See Ex. 23 (November 14,
   23     2013 OIF Implementation Agreement for Integrated Dual Polarization Intradyne
   24     Coherent Receivers) at 25 (listing “Acacia” as a member of OIF when the document
   25     was created); Ex. 4 (January 22, 2016 OIF Implementation Agreement for CFP2-
   26     Analogue Coherent Optics Module) at 92 (same); Ex. 5 (October 17, 2018
   27     Implementation Agreement for CFP2-Digital Coherent Optics Module) at 23 (same).
   28     The OIF Implementation Agreements, including Exhibits 4, 5, and 23, established
                                                    21
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    1     infringing dual-polarization coherent communication as the industry standard for
    2     long-haul, high speed communication. All three of the prior Core Defendants were
    3     also members of OIF. See Ex. 23 at 25 (listing “Ciena Corporation,” “Fujitsu,” and
    4     “Infinera” as members); Ex. 4 at 92 (same); Ex. 5 at 23-25 (same). On information
    5     and belief, Acacia monitored Core’s prior lawsuits against fellow OIF members
    6     Ciena, Fujitsu and Infinera, and/or had discussions with Ciena, Fujitsu and Infinera
    7     about those lawsuits. On information and belief, through such monitoring and/or
    8     discussions, Acacia knew of—or was willfully blind to—the existence of the ’211
    9     Patent, due to Core’s three prior lawsuits against other industry players. Through such
   10     monitoring and/or discussions, Acacia knew—or was willfully blind—that its
   11     Accused Instrumentalities, when incorporated and used as part of optical receiver
   12     systems, infringe the ’211 Patent during normal use.
   13           42.    Indeed, Acacia is not just an “industry player” in the optical networking
   14     industry. Acacia’s entire business is to sell products designed for use in optical
   15     receiver systems that practice the Patent-in-Suit. The only products listed on Acacia’s
   16     website, https://acacia-inc.com/products/, are designed for use in optical receiver
   17     systems that practice the Patent-in-Suit, i.e., “AC1200,” “AC400,” “CFP-DCO,”
   18     “CFP2-DCO,” “CFP2-ACO,” “OSFP,” “QSFP-DD,” “DSP ASICs,” and “Silicon
   19     PICs.” Id. Because Acacia’s entire product line is designed for use in optical receiver
   20     systems that practice the Patent-in-Suit, Acacia would have been especially alert to
   21     lawsuits concerning dual-polarization optical technology. Because Core sued three
   22     other OIF members for infringement due to their dual-polarization optical
   23     equipment—and because OIF member Acacia only sells such optical equipment—on
   24     information and belief, Acacia monitored, and was aware of, Core’s lawsuits against
   25     Ciena, Fujitsu, and Infinera. Through such monitoring, on information and belief,
   26     Acacia learned of the ‘211 patent, and learned that it covers dual-polarization optical
   27     equipment—the only type of equipment that Acacia sells. Thus, on information and
   28     belief, Acacia knew that the Accused Instrumentalities are used in optical receiver
                                                    22
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    1     systems that infringed the ‘211 Patent during the Relevant Time Period.
    2           43.    Further, according to the Master Supply Agreement between Acacia and
    3     Fujitsu dated October 18, 2013 (Exhibit 24), which is available for download at
    4     https://www.sec.gov/Archives/edgar/data/1651235/000119312515409344/d46988dex
    5     1018.htm, Acacia obtains its “Application Specific Integrated Circuits” from Fujitsu.
    6     Ex. 24 at 1. Because all of Acacia’s products are designed for use in optical receiver
    7     systems that practice the Patent-in-Suit, these “Application Specific Integrated
    8     Circuits” must be part of the Accused Instrumentalities—likely, the “DSP ASICs.”
    9     Shortly after Fujitsu was sued by Core, Fujitsu informed its major customer, Cisco, of
   10     the ‘211 patent. See Ex. 25 (Core’s Second Amended Complaint in Case No. 20-cv-
   11     1468), ¶¶ 71-73. Because Fujitsu informed its major customer Cisco of the ‘211
   12     patent, it likely also informed its major customer Acacia of the ‘211 patent. Thus, on
   13     information and belief, Fujitsu informed Acacia of the ‘211 patent on or about July 7,
   14     2016 (the day it informed Cisco). This further advised Acacia of the ‘211 patent.
   15     Once Acacia reviewed the ‘211 patent, it would have immediately discovered that it
   16     relates to Acacia’s dual-polarization optical products. Thus, during the Relevant Time
   17     Period, Acacia knew (or was willfully blind) that the Accused Instrumentalities are
   18     designed for use in optical receiver systems that infringe the Patent-in-Suit.
   19           44.    Meanwhile, according to the November 11, 2016 Master Purchase
   20     Agreement between Acacia and Cisco (Exhibit 26), available for download at
   21     https://www.sec.gov/Archives/edgar/data/1651235/000165123519000189/exhibit101.
   22     htm, Cisco was an Acacia customer for the Accused Instrumentalities as of, at least,
   23     November 11, 2016. Ex. 23 at 1. On information and belief, because Cisco was aware
   24     of the ‘211 Patent as of July 2016, it likely informed Acacia—its supplier—of the
   25     ‘211 patent as of, at least, the November 11, 2016 date of the Master Purchase
   26     Agreement. For this additional reason, on information and belief, Acacia was aware
   27     of the ‘211 Patent during the Relevant Time Period. Once Acacia reviewed the ‘211
   28     patent, it would have immediately discovered that it directly relates to Acacia’s dual-
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    1     polarization optical products. Thus, during the Relevant Time Period, Acacia knew
    2     (or was willfully blind) that the Accused Instrumentalities are designed for use in
    3     optical receiver systems that infringe the Patent-in-Suit.
    4           45.    Moreover, as shown in Exhibit 20, Acacia has been a “Strategic Partner”
    5     of ADVA since 2011. On December 18, 2017, Core sent a letter to ADVA expressly
    6     advising it that ADVA was committing “infringement of the ‘211 Patent arising from
    7     ADVA’s manufacture, use, importation, offer for sale, and/or sale in the United States
    8     of ADVA’s coherent 100G and higher transport solutions.” Ex. 27 (LaPorte letter) at
    9     1. Since ADVA was Acacia’s “strategic partner,” and Acacia supplied components
   10     for ADVA’s “coherent 100G and higher transport solutions,” on information and
   11     belief, ADVA advised Acacia of the ‘211 patent and the notice letter shortly after it
   12     received the letter. For this additional reason, Acacia was aware of the ‘211 patent
   13     during the Relevant Time Period. Once Acacia reviewed the ‘211 patent, it would
   14     have immediately discovered that it directly relates to Acacia’s dual-polarization
   15     optical products. Thus, during the Relevant Time Period, Acacia knew (or was
   16     willfully blind) that the Accused Instrumentalities are designed for use in optical
   17     receiver systems that infringe the Patent-in-Suit.
   18           46.    On information and belief, once Acacia learned of the ‘211 patent from
   19     the foregoing sources—and given that Acacia’s entire business is to sell dual-
   20     polarization optical equipment, which is the exact subject matter of the ‘211 patent—
   21     Acacia must have analyzed the ‘211 patent to determine whether the Accused
   22     Instrumentalities were used in optical receiver systems to infringe any claims of the
   23     ‘211 patent. Upon performing such an analysis, Acacia must have concluded that the
   24     systems incorporating the Accused Instrumentalities do infringe, at least, the Asserted
   25     Claims of the ‘211 patent, because—per Paragraphs 16-21 supra—it is manifest that
   26     optical receiver systems incorporating Acacia’s Accused Instrumentalities practice,
   27     during normal use, all the elements of, at least, claim 33 of the ‘211 patent.
   28           47.    If Acacia did not perform an analysis of whether such systems using the
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    1     Accused Instrumentalities infringe the ‘211 patent, after receiving knowledge of the
    2     ‘211 patent form the various sources listed above, then Acacia was willfully blind.
    3     Clearly, Acacia has always known that its Accused Instrumentalities perform dual-
    4     polarization communication using an XPIC. Once Acacia learned that multiple other
    5     companies had been sued under the ‘211 patent for selling dual-polarization optical
    6     equipment using an XPIC, any reasonable party in Acacia’s position would have
    7     analyzed its own products that perform dual-polarization communication using an
    8     XPIC, to determine whether systems using those products infringe the ‘211 patent. In
    9     the unlikely event that Acacia chose not to perform such an analysis, then that
   10     constitutes willful blindness, which is an equally-culpable mental state.
   11           48.    In view of the foregoing, at all relevant times, Acacia has known about
   12     the existence and relevance of the ’211 patent, and has known that optical receiver
   13     systems incorporating the Accused Instrumentalities, during normal use, infringe the
   14     Asserted Claims.
   15           49.    On information and belief, when Acacia sold the Accused
   16     Instrumentalities to U.S. customers, and/or provided service, maintenance, technical
   17     support, or other active assistance to such customers, it did so with the specific intent
   18     to encourage the customers to perform acts constituting direct infringement of the
   19     ’211 Patent. This is evidenced by Paragraphs 39-48 supra, which show that Acacia
   20     was aware of the existence and relevance of the ’211 patent at all relevant times.
   21     Because Acacia was aware of the ’211 patent’s relevance and existence, it always
   22     knew that its customers’ use of the Accused Instrumentalities would constitute
   23     infringement of that patent. Acacia’s decision to continue marketing the Accused
   24     Instrumentalities to U.S. customers, despite knowing that such customers’ normal use
   25     would constitute direct infringement, evidences that Acacia had a specific intent to
   26     encourage direct infringement of the ’211 patent by its customers.
   27           50.    Therefore, Acacia has unlawfully induced infringement of the ’211
   28     Patent, in violation of 35 U.S.C. § 271(b).
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    1         COUNT III – CONTRIBUTORY INFRINGEMENT (35 U.S.C. § 271(c))
    2           51.    Plaintiff repeats and realleges each and every allegation contained in
    3     Paragraphs 1-50 supra, as if fully set forth herein.
    4           52.    Acacia has committed contributory infringement of the Asserted Claims
    5     of the ’211 Patent, in violation of 35 U.S.C. § 271(c).
    6           53.    Acacia has committed contributory infringement by selling, offering to
    7     sell and/or importing into the United States the Accused Instrumentalities. As shown
    8     in Paragraphs 16-21 supra, the Accused Instrumentalities constitute or contain a
    9     “DSP ASIC” which performs cross-polarization interference mitigation on
   10     polarization-multiplexed optical signals. A dual-polarization optical system that
   11     contains the “DSP ASIC” practices all the elements of, inter alia, claim 33.
   12           54.    The DSP ASIC practices a material part of the Asserted Claims, because
   13     it performs one of the key inventive functions of the ’211 Patent – i.e., it mitigates the
   14     effects of cross-polarization interference, using matrix operations, to reconstruct the
   15     original polarization-division-multiplexed signals.
   16           55.    As shown in Paragraphs 16-21 supra, the Accused Instrumentalities also
   17     constitute or contain a “Silicon PIC,” which receives dual-polarization optical signals
   18     and converts them to electrical signals. A dual-polarization optical system that
   19     contains the “Silicon PIC” practices all the elements of, inter alia, claim 33.
   20           56.    Moreover, Acacia’s full modules that include the DSP ASIC and Silicon
   21     PIC (i.e., CFP-DCO, CFP2-DCO, CFP2-ACO, OSFP, QSFP-DD, AC400, and
   22     AC1200) practice a material part of the Asserted Claims.
   23           57.    During the Relevant Time Period, Acacia had actual knowledge, or was
   24     willfully blind, that these components of the Accused Instrumentalities (i.e., the DSP
   25     ASIC, Silicon PIC, and Modules) were especially made or adapted for use in a system
   26     that infringes the Asserted Claims of the ’211 Patent. As shown in Paragraphs 39-48
   27     supra, Acacia knew, or was willfully blind, that the Accused Instrumentalities are
   28     configured to infringe the ’211 Patent upon use in such systems. For the reasons set
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    1     forth in Paragraphs 39-48, and on information and belief, Acacia knew, or was
    2     willfully blind, that normal use of the Accused Instrumentalities infringes the
    3     Asserted Claims. Despite that knowledge (or willful blindness), Acacia actively sold
    4     the Accused Instrumentalities in the United States, knowing their customers would
    5     use those devices in the United States, and knowing (or being willfully blind) that
    6     such use would result in direct infringement of the Asserted Claims.
    7           58.    The components of the Accused Instrumentalities that are configured to
    8     practice elements of the Asserted Claims (i.e., DSP ASIC, Silicon PIC, and Modules)
    9     are not staple articles of commerce, and—as configured—are not capable of
   10     substantial noninfringing use. To the contrary, these components, as configured, are
   11     especially adapted to perform the claimed cross-polarization interference mitigation
   12     methods, during normal use. Id. On information and belief, the only mode of
   13     operation of the Accused Instrumentalities is as part of an infringing dual-
   14     polarization communication system. Thus, the Accused Instrumentalities have no
   15     substantial non-infringing uses.
   16           59.    Accordingly, Defendants have unlawfully contributed to infringement of
   17     the ’211 Patent, in violation of 35 U.S.C. § 271(c).
   18             REMEDIES, ENHANCED DAMAGES, EXCEPTIONAL CASE
   19           60.    Plaintiff repeats and realleges each and every allegation contained in
   20     Paragraphs 1-59 supra, as if fully set forth herein.
   21           61.    Acacia’s direct infringement (Count I), induced infringement (Count II)
   22     and contributory infringement (Count III) of the ’211 patent has caused, and will
   23     continue to cause, significant damage to Core. As a result, Core is entitled to an award
   24     of damages adequate to compensate it for Acacia’s infringement, but in no event less
   25     than a reasonable royalty pursuant to 35 U.S.C. § 284. Core is also entitled to recover
   26     prejudgment interest, post-judgment interest, and costs.
   27           62.    For at least the reasons set forth in Paragraphs 39-48 supra, prior to the
   28     expiration of the ‘211 Patent, Acacia knew (or was willfully blind) that the Accused
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    1     Instrumentalities are configured to be used in optical systems that infringe the
    2     Asserted Claims of the ’211 Patent during normal use. Despite this known,
    3     objectively-high likelihood that its actions constituted direct and indirect
    4     infringement, Acacia continued to infringe the ’211 patent, up to the expiration date
    5     of the patent. Accordingly, Acacia’s infringement has been (and is) willful.
    6           63.    In addition to being willful, Acacia’s conduct has been egregious.
    7           64.    As set forth in Paragraphs 39-48 supra, despite knowing of (or being
    8     willfully blind to) its infringement, Acacia continued to infringe, on a large scale, up
    9     to the very date when the ’211 patent expired. Acacia is a large company, with over
   10     $500 million in annual revenue.1 Meanwhile, Plaintiff is a small company, owned by
   11     an individual inventor. On information and belief, Acacia persisted in its willful
   12     infringement, at least in part, because it believed it could use its superior resources to
   13     overwhelm Plaintiff in litigation. If proven, this would constitute “egregious”
   14     conduct, warranting enhanced damages.
   15           65.    Moreover, the validity of the ’211 patent has been thrice confirmed by
   16     the Patent Trial and Appeal Board (“PTAB”), in: (i) IPR2016-01618, filed by Fujitsu
   17     Network Communications, Inc.; (ii) IPR2018-01259, filed by Infinera Corporation;
   18     and (iii) IPR2020-01664, filed by Nokia and Juniper. In all three Inter Partes Review
   19     proceedings, the Petitioners—who were defendants in litigation—cited numerous
   20     prior art references, to attempt to establish that claims of the ’211 patent, including
   21     the Asserted Claims, were invalid. Yet, in all three cases, the PTAB denied
   22     institution, finding that the Petitioners had failed to establish a “reasonable
   23     likelihood” that any claim of the ’211 patent was invalid. See Ex. 28 (decision
   24     denying review in IPR2016-01618); Ex. 29 (decision denying review in IPR2018-
   25     01259); Ex. 30 (decision denying review in IPR2020-01664). Because the PTAB has
   26

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           See https://www.lightreading.com/opticalip/dci/acacia-reports-revenue-profit-
   28     growth-as-it-scraps-with-cisco/d/d-id/766560.
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    1     already rejected three extensive invalidity challenges to the ’211 patent, Acacia
    2     cannot reasonably believe that it has a viable invalidity defense. Acacia’s decision to
    3     persist in known, clearly-infringing conduct, despite the lack of any viable invalidity
    4     defense, is further evidence of “egregiousness.”
    5            66.    For at least the foregoing reasons, Acacia’s conduct has been willful and
    6     egregious. Accordingly, under 35 U.S.C. § 284, the Court should enhance Core’s
    7     damages in this case by up to three times the amount found or assessed.
    8            67.    For at least the foregoing reasons, this case is an “exceptional” case
    9     within the meaning of 35 U.S.C. § 285. Accordingly, Core is entitled to an award of
   10     attorneys' fees and costs, and the Court should award such fees and costs.
   11

   12                                      PRAYER FOR RELIEF
   13            WHEREFORE, Core prays for relief as follows:
   14            1.     That judgment be entered in favor of Core, and against Acacia;
   15            2.     That Core be awarded damages adequate to compensate it for Acacia’s
   16     infringement of the Asserted Claims of the '211 Patent, in an amount to be determined
   17     at trial, as well as interest thereon;
   18            3.     That Core be awarded the costs of suit;
   19            4.     That Acacia’s infringement be declared willful and egregious;
   20            5.     That the Court increase Core’s damages up to three times the amount
   21     assessed under 35 U.S.C. § 284;
   22            6.     That the Court declare this an exceptional case under 35 U.S.C. § 285,
   23     and award Core its attorneys' fees and costs incurred in this action; and
   24            7.     That the Court grant such further relief as it deems just and proper.
   25

   26                                     JURY TRIAL DEMAND
   27            Core demands a jury trial on all issues so triable.
   28

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    1     DATED: September 8, 2021         GLASER WEIL FINK HOWARD
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